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10                                  UNITED STATES DISTRICT COURT
11                                  EASTERN DISTRICT OF CALIFORNIA
12

13   United States of America,                        No. 2:10-CR-0223-JAM
14                     Plaintiff,                     ORDER EXTENDING SURRENDER
                                                      DATE
15          v.
16   Hoda Samuel,
17                                                    Hon. John A. Mendez
                       Defendant.
18

19          For good cause appearing, IT IS HEREBY ORDERED that defendant Hoda Samuel’s
20   surrender date is extended to December 4, 2013, by 2 p.m. to the institution designated (federal
21   medical center in Carswell, TX) or the U.S. Marshal’s Office in Sacramento.
22          Dated: November 27, 2013
23                                                /s/ John A. Mendez______
                                                  HON. JOHN A. MENDEZ
24                                                U.S. District Court Judge
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